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                      UNITED STATES BANKRUPTCY COURT
                        SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

In re:                          §
                                §
GARRISON MUNICIPAL PARTNERS, LP §                     Case No. 14-32867
                                §                        (Chapter 7)
    DEBTOR.                     §
                                §

     NINTH INTERIM APPLICATION FOR ALLOWANCE OF COMPENSATION
     AND REIMBURSEMENT OF EXPENSES OF DIAMOND McCARTHY LLP, AS
     GENERAL COUNSEL FOR THE CHAPTER 7 TRUSTEE, FOR THE PERIOD
                APRIL 1, 2017 THROUGH DECEMBER 31, 2018

         THIS APPLICATION SEEKS AN ORDER THAT MAY ADVERSELY
         AFFECT YOU. IF YOU OPPOSE THE APPLICATION, YOU SHOULD
         IMMEDIATELY CONTACT THE MOVING PARTY TO RESOLVE THE
         DISPUTE. IF YOU AND THE MOVING PARTY CANNOT AGREE, YOU
         MUST FILE A RESPONSE AND SEND A COPY TO THE MOVING PARTY.
         YOU MUST FILE AND SERVE YOUR RESPONSE WITHIN 21 DAYS OF
         THE DATE THIS WAS SERVED ON YOU. YOUR RESPONSE MUST
         STATE WHY THE APPLICATION SHOULD NOT BE GRANTED. IF YOU
         DO NOT FILE A TIMELY RESPONSE, THE RELIEF MAY BE GRANTED
         WITHOUT FURTHER NOTICE TO YOU.        IF YOU OPPOSE THE
         APPLICATION AND HAVE NOT REACHED AN AGREEMENT, YOU
         MUST ATTEND THE HEARING.      UNLESS THE PARTIES AGREE
         OTHERWISE, THE COURT MAY CONSIDER EVIDENCE AT THE
         HEARING AND MAY DECIDE THE APPLICATION AT THE HEARING.

         REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.
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                                  SUMMARY OF FEE APPLICATION

    Name of Applicant:                                                  Diamond McCarthy LLP
    Authorized to Provide Professional Services                         General Counsel to
    to:                                                           Rodney D. Tow, Chapter 7 Trustee
    Indicate whether this is an interim or final                              Interim
    application:
    Date Order of Appointment signed:                                      May 26, 2014
                                                              Beginning of Period Ending of Period
    Total period covered in application             04/01/2017                            12/31/2018
    Time periods covered by any prior               10/15/2014                            03/31/2017
    applications
    Total amounts awarded in all prior applications                                               $349,295.88

    Amount of retainer received in the case                                                               $0.00

    Total fees applied for in this application and in all prior applications                      $399,103.00
    (including any retainer amounts applied or to be applied)
    Total professional fees requested in this application                                          $55,907.00

    Total professional hours covered by this application                                                  160.7

    Average hourly rate for professionals                                                              $347.90

    Total paraprofessional hours covered by this application                                                25.7

    Average hourly rate for paraprofessionals                                                          $220.00

    Reimbursable expenses sought in this application                                                 $3,012.24

    Application Cost                                                                                      $0.00

    Total of other payments paid to Secured Claimants                                              $15,000.00
    Total of other payments paid to Administrative Claimants                                      $914,751.26
    Estimated Total for distribution to Priority Unsecured Creditors                                      n/a
    Expected % dividend to be paid to Priority Unsecured Creditors                                        n/a
    Estimated total for distribution to General Unsecured Creditors                              $533,063.331
    Expected % dividend to be paid to General Unsecured Creditors                                       100%
    Expected amount to be paid to all pre-petition creditors                                         unknown
    Receipts to date                                                                                 unknown
    Disbursements to date                                                                       $1,447,814.59
    Current balance in the Trustee’s accounts                                                     $487,350.13

1
 The Court entered an order [ECF No. 295] permitting the Trustee to make an interim distribution in the aggregate
amount of $533,063.33 to satisfy all of the general unsecured creditor claims in the bankruptcy case. Other than
payment of administrative expenses, the remaining distributions in this case will be to the equity interest holders.



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                                  INDEX OF EXHIBITS

Exhibit A     Diamond McCarthy’s Timekeepers and Billing Rates

Exhibit B     Diamond McCarthy’s Professionals’ Biographies

Exhibit C     Summary of Time Expended by Timekeepers and Categories

Exhibit C-1   Matter 11: Case Administration Invoices

Exhibit C-2   Matter 14: Adversary Proceedings and Litigation Claim Objection Invoices

Exhibit C-3   Matter 15: Fee Application Invoices




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TO THE HONORABLE EDUARDO V. RODRIGUEZ, UNITED STATES BANKRUPTCY
JUDGE:

       Diamond McCarthy LLP (“Diamond McCarthy”), general counsel to Rodney D. Tow,

the chapter 7 trustee (the “Trustee”) of the estate of Garrison Municipal Partners, L.P. (the

“Debtor” or the “Partnership”), hereby submits this Ninth Application for Allowance of

Compensation and Reimbursement of Expenses (the “Application”), pursuant to sections 330

and 331 of title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”),

Rule 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Local

Bankruptcy Rule 2016-1, seeking the entry of an order granting interim allowance of

compensation for professional services rendered in connection with the Debtor’s chapter 7 case

(the “Chapter 7 Case”) and out-of-pocket expenses incurred in connection therewith during the

period from April 1, 2017 through and including December 31, 2018 (the “Application Period”).

In support of the Application, Diamond McCarthy respectfully represents as follows:

                                   I.      JURISDICTION

       1.      The Court has jurisdiction over this Application pursuant to 28 U.S.C. § 1334 and

the General Order of Reference from the United States District Court for the Southern District of

Texas, dated as of May 24, 2012.          This is a core proceeding pursuant to 28 U.S.C.

§ 157(b)(2)(A), and the Court may enter a final order consistent with Article III of the United

States Constitution.

       2.      The Court has authority to grant the relief requested in this Application pursuant

to Bankruptcy Code sections 330 and 331, Bankruptcy Rule 2016, and Local Bankruptcy Rule

2016-1.




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                                       II.   BACKGROUND

A.     The Debtor

       3.      The Debtor is a limited partnership organized in February 2008 under the laws of

the State of Texas. The primary objective of the Debtor was to invest in the municipal bond

market.

       4.      CMG Management, LP (“CMG Management”) is the general partner of the

Debtor and is a Texas limited partnership organized and doing business in Houston, Texas.

       5.      Garrison Capital Management, LLC (“Garrison Capital Management”) is the

general partner of CMG Management and is a limited liability company. Garrison Capital

Management is a manager-managed company.

       6.      Prior to May 22, 2014 (the “Petition Date”), Charles Monroe Garrison (“Monroe

Garrison”) was the sole manager of Garrison Capital Management. Monroe Garrison owned

95.5% of Garrison Capital Management. In that capacity, Mr. Garrison controlled the general

partner of the Debtor. The general partner of the Debtor in turn controlled the operations and

investment strategies of the Debtor.

B.     Events Leading to Bankruptcy

       7.      When the Partnership commenced on or about February 2008, the Partnership

raised an amount in excess of $23 million from investors (the “Investors”). The Partnership

conducted most of its investment trading activities with two prime brokers, Deutsche Bank Alex.

Brown (“Deutsche Bank”) and Merrill Lynch (and also at Morgan Stanley Smith Barney LLC

(“Morgan Stanley”)), pursuant to agreements with these two brokers. Through the use of margin

accounts, the Partnership borrowed approximately $27,000,000.00 in 2008, such that at the end

of 2008, the Partnership invested approximately $50,000,000.00 in bonds.




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       8.      Between February 2008 and the Petition Date, Monroe Garrison managed the

funds of the Partnership. Investors became limited partners by investing in the Partnership

through various subscription agreements. Certain Investors made redemption calls and withdrew

from the Partnership between February 2008 and the Petition Date.

       9.      A series of events unfolded starting in 2012 and through 2013 that affected the

Partnership. First, Gregory Mount, the Chief Financial Officer of the Debtor, resigned at the end

of 2012.     Second, Mr. Mount reported certain irregularities in the way Monroe Garrison

conducted the business of the Debtor to the Texas Securities Board in 2013. Third, the Debtor’s

auditors LaPorte CPAs and Business Advisors withdrew certain of their audited financial

statements for the Partnership. Fourth, certain limited partners/investors commenced a lawsuit

entitled J. P. Bryan and Margaret Vonder Hoya v. Garrison Municipal Partners, LP, CMG

Management, LP, General Partner, and Charles Monroe Garrison, Case No. 2013-63132, in the

District Court of Harris County, Texas, 164th Judicial District (the “Investor Suit”).       The

Investor Suit alleges that Monroe Garrison placed the Plaintiffs in unsuitable and illiquid

investments and charged excessive management and performance fees. Fifth, disputes arose

over efforts by Investors to redeem their interests.

       10.     The Partnership retained financial advisors, a new accounting firm, and a law firm

to defend the Partnership, CMG Management, Garrison Capital Management and Monroe

Garrison in the Investor Suit. The costs of all these efforts were mounting and were funded from

the remaining assets in the Partnership.

C.     Bankruptcy and Appointment of Trustee

       11.     On the Petition Date, the Debtor filed a voluntary petition under chapter 7 of the

Bankruptcy Code.




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       12.     In the Schedule of Assets and Liabilities, the Debtor disclosed it had personal

property in the amount of $8,310,510.50 and two secured creditors with total claims in the

amount of $6,195,627.00. In the Statement of Financial Affairs, the Debtor disclosed claims

against third parties, accountants and investors. These claims range from breach of contract,

return of over-distribution to limited partners, and malpractice against accountants.

       13.     After the Petition Date, the United States Trustee appointed Rodney D. Tow to

serve as the duly-qualified and acting Chapter 7 trustee of the Debtor’s estate (the “Debtor’s

Estate”).

D.     Retention of Counsel for the Trustee

       14.     The Trustee filed his Application for Authority to Employ Diamond

McCarthy LLP as General Counsel to the Trustee Pursuant to Section 327(a) of the Bankruptcy

Code on June 5, 2014 (“General Counsel Application”) [Dkt. No. 10].

       15.     As set forth in the General Counsel Application, the Trustee retained Diamond

McCarthy to act as his general counsel because the firm has significant experience in efficiently

analyzing complex financial arrangements, investigating schemes involving allegations of fraud,

understanding how to approach such situations to maximize recovery, and representing

fiduciaries in recovering assets transferred to third-parties prior to bankruptcy.

       16.     In this case, Diamond McCarthy is assisting the Trustee with fulfilling his duties

under Section 704 of the Bankruptcy Code, by performing the following services:

               (a)    collecting and reducing to money the property of the Debtor’s estate;

               (b)    assisting the Trustee in accounting for all property received;

               (c)    investigating the financial affairs of the Debtor;

               (d)    if a purpose would be served, examining proofs of claim and objecting to
                      the allowance of any claim that is improper;



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               (e)   unless the Court orders otherwise, furnishing such information concerning
                     the Debtor’s estate and its administration as is requested by a party in
                     interest; and

               (f)   when appropriate, assisting the Trustee in drafting a final report and filing
                     a final accounting of the administration of the Debtor’s estate with the
                     Court and with the United States Trustee.

       17.     On June 16, 2014, the Court entered its order granting the relief requested in the

Trustee’s General Counsel Application, effective as of May 26, 2014 (the “General Counsel

Order”) [Dkt. No. 22].

       18.     Diamond McCarthy has no agreement or understanding with any other entity for

the sharing of compensation to be received for services rendered in connection with the case.

E.     Payments Received by Diamond McCarthy LLP

       19.     Pursuant to the General Counsel Application and the engagement agreement, the

Trustee did not provide a retainer to Diamond McCarthy.

       20.     On October 15, 2014, Diamond McCarthy filed its First Interim Application for

Allowance of Compensation and Reimbursement of Expenses, as General Counsel for the

Chapter 7 Trustee, for the Period May 26, 2014 through September 30, 2014 (the “First

Application”) [Dkt. No. 62].

       21.     On November 13, 2014, the Court entered its Order Approving First Interim

Application for Allowance of Compensation and Reimbursement of Expenses of Diamond

McCarthy LLP, As General Counsel for the Chapter 7 Trustee, for the Period May 26, 2014

Through September 30, 2014 (the “First Order”) [Dkt. No. 69].

       22.     Pursuant to the First Order, the Court awarded interim compensation to Diamond

McCarthy in the total amount of $155,153.36, consisting of professional fees of $154,259.50 and

out-of-pocket expenses of $893.86.



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       23.    On May 1, 2015, Diamond McCarthy filed its Second Interim Application for

Allowance of Compensation and Reimbursement of Expenses, as General Counsel for the

Chapter 7 Trustee, for the Period October 1, 2014 through January 31, 2015 (the “Second

Application”) [Dkt. No. 130].

       24.    On June 25, 2015, the Court entered its Order Approving Second Interim

Application for Allowance of Compensation and Reimbursement of Expenses of Diamond

McCarthy LLP, As General Counsel for the Chapter 7 Trustee, for the Period October 1, 2014

through January 31, 2015 (the “Second Order”) [Dkt. No. 156].

       25.    Pursuant to the Second Order, the Court awarded interim compensation to

Diamond McCarthy in the total amount of $75,613.37, consisting of professional fees of

$71,259.00 and out-of-pocket expenses of $4,354.37.

       26.    On November 20, 2015, Diamond McCarthy filed its Third Interim Application

for Allowance of Compensation and Reimbursement of Expenses, as General Counsel for the

Chapter 7 Trustee, for the Period February 1, 2015 through May 31, 2015 (the “Third

Application”) [Dkt. No. 179].

       27.    On December 8, 2015, the Court entered its Order Approving Third Interim

Application for Allowance of Compensation and Reimbursement of Expenses of Diamond

McCarthy LLP, As General Counsel for the Chapter 7 Trustee, for the Period February 1, 2015

through May 31, 2015 (the “Third Order”) [Dkt. No. 184].

       28.    Pursuant to the Third Order, the Court awarded interim compensation to Diamond

McCarthy in the total amount of $31,480.82, consisting of professional fees of $26,541.00 and

out-of-pocket expenses of $4,939.82.




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       29.    On November 20, 2015, Diamond McCarthy filed its Fourth Interim Application

for Allowance of Compensation and Reimbursement of Expenses, as General Counsel for the

Chapter 7 Trustee, for the Period June 1, 2015 through September 30, 2015 (the “Fourth

Application”) [Dkt. No. 180].

       30.    On December 8, 2015, the Court entered its Order Approving Fourth Interim

Application for Allowance of Compensation and Reimbursement of Expenses of Diamond

McCarthy LLP, As General Counsel for the Chapter 7 Trustee, for the Period June 1, 2015

through September 30, 2015 (the “Fourth Order”) [Dkt. No. 183].

       31.    Pursuant to the Fourth Order, the Court awarded interim compensation to

Diamond McCarthy in the total amount of $16,612.3, consisting of professional fees of

$16,554.00 and out-of-pocket expenses of $58.30.

       32.    On July 6, 2016, Diamond McCarthy filed its Fifth Interim Application for

Allowance of Compensation and Reimbursement of Expenses, as General Counsel for the

Chapter 7 Trustee, for the Period October 1, 2015 through January 31, 2016 (the “Fifth

Application”) [Dkt. No. 201].

       33.    On July 28, 2016, the Court entered its Order Approving Fifth Interim

Application for Allowance of Compensation and Reimbursement of Expenses of Diamond

McCarthy LLP, As General Counsel for the Chapter 7 Trustee, for the Period October 1, 2015

through January 31, 2016 (the “Fifth Order”) [Dkt. No. 209].

       34.    Pursuant to the Fifth Order, the Court awarded interim compensation to Diamond

McCarthy in the total amount of $5,360.00.

       35.    On July 6, 2016, Diamond McCarthy filed its Sixth Interim Application for

Allowance of Compensation and Reimbursement of Expenses, as General Counsel for the




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Chapter 7 Trustee, for the Period February 1, 2016 through May 31, 2016 (the “Sixth

Application”) [Dkt. No. 202].

       36.    On July 28, 2016, the Court entered its Order Approving Sixth Interim

Application for Allowance of Compensation and Reimbursement of Expenses of Diamond

McCarthy LLP, As General Counsel for the Chapter 7 Trustee, for the Period February 1, 2016

through May 31, 2016 (the “Sixth Order”) [Dkt. No. 210].

       37.    Pursuant to the Sixth Order, the Court awarded interim compensation to Diamond

McCarthy in the total amount of $10,350.00.

       38.    On December 28, 2016, Diamond McCarthy filed its Seventh Interim Application

for Allowance of Compensation and Reimbursement of Expenses, as General Counsel for the

Chapter 7 Trustee, for the Period June 1, 2016 through September 30, 2016 (the “Seventh

Application”) [Dkt. No. 230].

       39.    On January 25, 2017, the Court entered its Order Approving Seventh Interim

Application for Allowance of Compensation and Reimbursement of Expenses of Diamond

McCarthy LLP, as General Counsel for the Chapter 7 Trustee, for the Period June 1, 2016

through September 30, 2016 (the “Seventh Order”) [Dkt. No. 233].

       40.    Pursuant to the Seventh Order, the Court awarded interim compensation and

reimbursement of expenses to Diamond McCarthy in the total amount of $33,985.06.

       41.    On June 19, 2017, Diamond McCarthy filed its Eighth Interim Application for

Allowance of Compensation and Reimbursement of Expenses, as General Counsel for the

Chapter 7 Trustee, for the Period October 1, 2016 through March 31, 2017 (the “Eighth

Application”) [Dkt. No. 256].




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       42.       On August 24, 2017, the Court entered its Order Approving Eighth Interim

Application for Allowance of Compensation and Reimbursement of Expenses of Diamond

McCarthy LLP, as General Counsel for the Chapter 7 Trustee, for the Period October 1, 2016

through March 31, 2017 (the “Eighth Order”) [Dkt. No. 269].

       43.       Pursuant to the Eighth Order, the Court awarded interim compensation and

reimbursement of expenses to Diamond McCarthy in the total amount of $20,740.97.

       44.       This is Diamond McCarthy’s ninth interim request for allowance and payment of

fees and expenses.

F.     Means to Pay Administrative Expenses

       45.       To fund the ongoing administration of the Debtor’s estate, the Trustee presently

holds cash from the liquidation of the securities portfolios at Deutsche Bank and Morgan

Stanley.     At this time, the Trustee anticipates having sufficient funds to pay ongoing

administrative costs, including professional fees.

       46.       The Trustee is relatively certain that there will ultimately be sufficient assets in

the Debtor’s estate to satisfy all allowed administrative claims in full.

                                  III.    RELIEF REQUESTED

       47.       Diamond McCarthy has made every effort to ensure that the Application complies

with the Local Rules for the Southern District of Texas and has been prepared in accordance with

the United States Trustee Appendix A—Guidelines for Reviewing Applications for Compensation

and Reimbursement of Expenses Filed Under 11 U.S.C. § 330, dated May 17, 1996 (the

“Guidelines”).

       48.       By this Application, Diamond McCarthy seeks the entry of an order granting (a)

interim allowance of compensation for the professional services rendered by Diamond McCarthy




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as general counsel to the Trustee during the Application Period in the amount of $61,561.00,

representing 186.4 hours in attorney and paraprofessional services, and (b) reimbursement of

actual and necessary expenses incurred by Diamond McCarthy during the Application Period in

the amount of $3,012.24.

      IV.    NATURE AND EXTENT OF SERVICES PROVIDED BY APPLICANT

       49.     Diamond McCarthy has maintained detailed written records of the time expended

by attorneys and paraprofessionals in the rendition of their professional services to the Trustee.

Such time records were generated contemporaneously with the performance of the professional

services described therein and in the ordinary course of Diamond McCarthy’s practice. Diamond

McCarthy’s hourly billing rates, as set out in Exhibit A, are the rates Diamond McCarthy

regularly charges its hourly clients.    As demonstrated by Exhibit B, Diamond McCarthy’s

attorneys are experienced in all aspects of bankruptcy matters, possess a high level of expertise,

and have an excellent reputation in the business and legal communities. The individual time

records were recorded by the attorney or paraprofessional who rendered the described service.

Attached hereto as Exhibits C-1 through C-3 are copies of the actual time records maintained by

Diamond McCarthy, along with summaries of the number of hours worked and the total charges

of Diamond McCarthy, separated into individual categories of services rendered during the

Application Period.

       50.     In addition to the requirement that a description of the general services rendered

by a professional be provided in a fee application, the Guidelines require that applications for

compensation should include:

               A description of the project, its necessity and benefit to the estate .
               . . identification of each person providing services on the project;
               and a statement of the number of hours spent and the amount of




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               compensation requested for each professional and paraprofessional
               on the project.

       51.     Accordingly, Diamond McCarthy established separate billing categories for use in

its representation of the Trustee. These distinct, numbered project billing categories enabled

Diamond McCarthy to monitor its activities and appropriately account for the time expended by

each professional and paraprofessional in each category. The billing records attached as Exhibits

C-1 through C-3 reflect the following segregation of services rendered by billing categories:

                      0011            Case Administration
                      0014            Adversary Proceedings and Litigating Claim Objections
                      0015            Fee Applications

       52.     Diamond McCarthy further accounted for the time expended within the various

categories by delineating the amount of time expended by task.           This procedure enabled

Diamond McCarthy to better inform the Trustee, the Court, and the United States Trustee

regarding the nature of the services provided and time expended by its professionals.

       53.     To streamline and control legal fees and expenses, Diamond McCarthy has sought

to minimize the expenditure of time by its senior partners by delegating responsibilities to junior

partners, associates and other paraprofessional employees, as appropriate. The blended hourly

rate of all Diamond McCarthy professionals and paraprofessionals who provided services during

the Application Period is $330.26.

       54.     Set forth below is a summary description, by project billing category, of the

services rendered by each Diamond McCarthy professional. The specific tasks undertaken by

Diamond McCarthy, the number of hours devoted, and the amounts charged by each professional

or paraprofessional within each billing category are also set forth below, and are detailed in the

work records attached hereto as Exhibits C-1 through C-3.




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A.     Case Administration – Matter 11

       55.      The total hours and amounts charged by Diamond McCarthy professionals and

paraprofessionals to Matter 11 are 107.8 hours, representing $33,311.00 in fees. Such amount is

summarized below:

             Timekeeper                 Role        Date of       Billing    Hours          Fees
                                                     First         Rate
                                                   Admission

  Charles M. Rubio (CRM)               Partner      3/5/2008     $420.00          1.5   $    712.50
  Charles M. Rubio (CRM)              Partners      3/5/2008     $475.00        13.7    $ 5,754.00
  Frances Ellenbogen (FE)            Associate     9/26/2013     $295.00        81.4    $24,013.00
  Frances Ellenbogen (FE)            Associate     9/26/2013     $325.00         3.5    $ 1,137.50
  Alyson Fillers (AF)                 Paralegal        N/A       $220.00          2.5   $    550.00
  Catherine Burrow (CAB)              Paralegal        N/A       $220.00          4.6   $ 1,012.00
  Adam R. Rodriguez (ARR)             Paralegal        N/A       $220.00         0.6    $ 132.00
  Totals                                                                       107.8    $33,311.00


       56.      The Case Administration billing category includes all professional services

related to the general representation of the Trustee. This category includes the following types of

professional services:

                        preparing, filing, and obtaining approval of a settlement prepetition
                         claims with Andrews & Kurth;

                        analyzing issues relating to disputes with limited partners of the
                         Debtor; and

                        preparing, filing, and prosecuting objections to equity claims of
                         limited partners of the Debtor.

       57.      While efforts were undertaken to allocate time reported in this category to other

distinct categories, there may remain some identifiable services within the time records under the

Case Administration billing category that could have been allocated to other categories of

services.



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B.       Adversary Proceeding & Litigation Claim Objection - Matter 14

         58.     The total hours and amounts charged by each Diamond McCarthy professional to

Matter 14 are 63.0 hours, representing $23,008.00 in fees. Such amount is summarized below:

               Timekeeper              Role       Date of      Billing    Hours           Fees
                                                   First        Rate
                                                 Admission
     Charles M. Rubio (CRM)           Partner     3/5/2008     $420.00       23.9     $10,038.00
     Charles M. Rubio (CRM)           Partner     3/5/2008     $475.00       13.4     $ 6,365.00
     Frances Ellenbogen (FE)        Associate    9/26/2013     $295.00        8.9     $ 2,625.50
     Robert J. Shannon (RJS)        Associate     12/2013      $325.00        2.7     $     877.50
     Catherine Burrow (CAB)          Paralegal        N/A      $220.00       14.1     $ 3,102.00
     Total                                                                   63.0     $23,008.00



         59.     Diamond McCarthy professionals served the Trustee in advising on the settlement

of adversary proceedings and other litigation claims. The category includes the following types

of professional services:

                       preparing, filing and prosecuting objections to claims on behalf of
                        the Trustee;

                       preparing for and attending mediation with the Debtor’s investor
                        group;

                       preparing, filing, and obtaining approval of a claim settlement with
                        Southwest Securities; and

                       preparing and filing appellate documents on behalf of the Trustee
                        in the claim objection appeal filed by the Green claimants.

C.       Fee Applications - Matter 15

         60.     The total hours and amounts charged by each Diamond McCarthy professional to

Matter 15 are 15.6 hours, representing $5,242.00 in fees. Such amount is summarized below:




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               Timekeeper              Role      Date of      Billing   Hours         Fees
                                                  First        Rate
                                                Admission
     Charles M. Rubio (CMR)           Partner    3/5/2008    $420.00        6.4      $ 2,688.00
     Michael Fritz (MDF)            Associate   11/2/2012    $320.00        5.3      $ 1,696.00
     Catherine Burrow (CAB)         Paralegal        N/A     $220.00        3.9     $     858.00
     Total                                                                 15.6     $ 5,242.00



         61.     Diamond McCarthy professionals served the Trustee and the estate by preparing,

filing, and obtaining approval of the Eighth Interim Fee Application of Diamond McCarthy,

general counsel to the Trustee.

D.       Disbursements for Out-of-Pocket Expenses

         62.     Diamond McCarthy requests allowance and reimbursement in the amount of

$3,012.24 for reasonable, actual and necessary out-of-pocket expenses incurred while rendering

professional services on behalf of the Chapter 7 Trustee during the Application Period.

         63.     Expenses incurred by Diamond McCarthy are set forth in detail on Exhibits C-1

through C-3 and can be summarized as follows:

Internal Duplicating (1,385 copies @ .20)                                                 $ 277.00
Outside Duplicating – at cost                                                             $ 430.55
Postage and Delivery Services (Local and Overnight) – at cost                             $ 227.48
Transcripts                                                                               $ 133.10
Online Research (Westlaw/Lexis/PACER) – at cost                                           $1,944.11
TOTAL                                                                                     $3,012.24

         64.     Diamond McCarthy submits that all expenses incurred during the Application

Period were reasonable and necessary, are sought in compliance with the Guidelines, and should

be allowed on an interim basis by the Court. Copies of all third-party invoices in excess of

$100.00 are available upon request.




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V.      STANDARDS RELEVANT TO AWARDING REASONABLE COMPENSATION

       65.     Section 330 of the Bankruptcy Code authorizes the Court to award Diamond

McCarthy reasonable compensation for its actual and necessary services rendered and

reimbursement of its actual and necessary expenses incurred in the rendering services as general

counsel to the Trustee. Section 330 provides:

               (a)(1) After notice to the parties in interest and to the United
                      States Trustee and a hearing, and subject to sections 326,
                      328, and 329, the court may award to a trustee, a consumer
                      privacy ombudsman appointed under section 332, an
                      examiner, an ombudsman appointed under section 333, or a
                      professional person employed under section 327 or 1103:

               (A)       reasonable compensation for actual, necessary services
                         rendered by the trustee, examiner, ombudsman,
                         professional person, or attorney and by any
                         paraprofessional person employed by any such person; and

               (B)       reimbursement for actual, necessary expenses.

11 U.S.C. § 330(a)(1).

       66.     Section 331 of the Bankruptcy Code authorizes the Court to award compensation

on an interim basis as follows:

               A trustee, an examiner, a debtor’s attorney, or any professional
               person employed under section 327 or 1103 of this title may apply
               to the court not more than once every 120 days after an order for
               relief in a case under this title, or more often if the court permits,
               for such compensation for services rendered before the date of
               such an application or reimbursement of expenses incurred before
               such date as is provided under section 330 of this title. After
               notice and a hearing, the court may allow and disburse to such
               applicant such compensation or reimbursement.

11 U.S.C. § 331.

       67.     This Application substantiates the total amount that Diamond McCarthy seeks for

fees and expenses in accordance with each element of the customary standards applied to fee




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applications. These standards are set forth in (i) Rule 2016 of the Federal Rules of Bankruptcy

Procedure, and (ii) In re First Colonial Corp. of America, 544 F.2d 1291 (5th Cir. 1977), cert.

denied, 431 U.S. 904 (1977).

       68.     In First Colonial, the Fifth Circuit adopted twelve factors to apply to the

determination of awards of attorneys’ fees in bankruptcy cases: (i) time and labor required;

(ii) the novelty and difficulty of the questions; (iii) the skill requisite to perform the legal service

properly; (iv) the preclusion of other employment by the professional due to acceptance of the

case; (v) the customary fee; (vi) whether the fee is contingent or fixed; (vii) time limitations

imposed by the client or the circumstances; (viii) the amount involved and the results obtained;

(ix) the experience, reputation and ability of the attorneys; (x) the “undesirability” of the case;

(xi) the nature and length of the professional relationship with the client; and (xii) awards in

similar cases. First Colonial, 544 F.2d at 1298-99. These factors were taken from Johnson v.

Georgia Highway Express, Inc., 488 F.2d 714, 717-19 (5th Cir. 1974), a non-bankruptcy case,

and are commonly referred to as the “Johnson factors.”             The original Johnson factors, as

embraced by First Colonial, remain applicable to the determination of reasonableness of fees

awarded under the Bankruptcy Code. 15 King, Collier on Bankruptcy, ¶ 330.04[3] at 330-35 to

330-41. A majority of the Johnson factors are now codified under Bankruptcy Code Section

330(a). Id. The following analysis of the First Colonial factors support the reasonableness of

Diamond McCarthy’s requested fees and expenses:

               (i)     Time and labor required. The professional services rendered by Diamond
                       McCarthy on behalf of the Trustee have required the expenditure of time
                       and effort to administer the Debtor’s estate, analyze claims held by the
                       Debtor’s estate and the settlement of those claims, and analyze Trustee’s
                       objections to the proofs of claims filed by the Debtor’s former
                       management pursuant to § 510 of the Bankruptcy Code. Exhibit C to this
                       Application contains copies of Diamond McCarthy’s time entries by
                       category from October 1, 2016 through March 31, 2017, and set forth in



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              detail all the time for which compensation is sought, as well as the specific
              services performed by each of the professionals in connection with the
              services.

      (ii)    Novelty and Difficulty of Legal Problems Involved. This Johnson factor
              examines the degree of novelty and difficulty of the issues encountered by
              Diamond McCarthy in representing the Trustee. Diamond McCarthy has
              faced a number of difficult and complex legal issues, to wit:

                 analyzing the cash distributions made by partners of the Debtor in the
                  four-year period prior to the Petition Date;

                 researching and analyzing Trustee’s ability to object to the proofs of
                  claims filed by the Debtor’s former management and the defenses
                  raised including indemnification obligations under the Debtor’s
                  governance documents;

                 preparing a complaint to avoid and recover transfers made by the
                  Debtor to the Debtor’s prepetition law firm; and

                 advising the Trustee on settlement structures to resolve the Debtor’s
                  estate’s litigation against the Debtor’s former auditor, and addressing
                  related claims brought by the Debtor’s owner.

      (iii)   The skill requisite to perform the legal services properly. The number of
              difficult issues and matters addressed in this case required a high degree of
              skill and expertise. Diamond McCarthy’s attorneys have been used
              effectively and efficiently to perform the tasks assigned to them and have
              provided valuable and effective assistance to the Trustee.

              A thorough understanding of the Bankruptcy Code and Federal Rules of
              Bankruptcy Procedure was blended with business expertise to administer
              the Debtor’s estate, analyze claims held by the Debtor’s estate, and
              analyze Trustee’s objections to the proofs of claims filed by the Debtor’s
              former management. The compensation requested by Diamond McCarthy
              is consistent with the compensation awarded in other cases of similar size
              and complexity.

      (iv)    Preclusion of other employment due to the acceptance of this case. Due to
              the size of Diamond McCarthy’s financial restructuring department and
              the firm as a whole, Diamond McCarthy’s representation of the Trustee
              has precluded the attorneys from devoting time to other cases and new
              matters.

      (v)     Customary Fee. Diamond McCarthy’s hourly billing rates, as set out in
              Exhibit A, are the rates Diamond McCarthy regularly charges its hourly



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              clients. The hourly rates charged by Diamond McCarthy are lower than or
              commensurate with the customary fees charged by professionals of similar
              experience, reputation and abilities in this community, as well as those
              rates charged regionally and nationally. Additionally, the hourly rates
              charged by Diamond McCarthy are consistent with the amount involved in
              this case, the results obtained by Diamond McCarthy, and the level of skill
              necessary to perform the work. Accordingly, the fees charged by
              Diamond McCarthy are reasonable and customary.

              Diamond McCarthy has coordinated with the Trustee and the Trustee’s
              other professionals to avoid duplication of services and to minimize fees
              and expenses to the Debtor’s estate.

              No agreement exists between Diamond McCarthy and any other person,
              firm or entity for division or sharing of compensation in this case.

      (vi)    Whether the fee is fixed or contingent. Diamond McCarthy charges
              customary hourly rates, as adjusted annually, for the time expended by its
              attorneys and paraprofessionals in representing the Trustee. Diamond
              McCarthy’s fee is not outcome dependent.

      (vii)   Time Limitations Imposed by the Client or Circumstances. Because of the
              time-sensitive nature of some of the matters arising in the case, Diamond
              McCarthy attorneys had to devote time to this case in the evenings and on
              weekends.

      (viii) The amount of time involved and the results obtained. Diamond
             McCarthy’s actions in this case have assisted the Trustee in efficiently
             fulfilling his obligations under the Bankruptcy Code. The requested
             compensation is reasonable in view of the time expended, the parties
             involved, and the results obtained in the case to date.

      (ix)    The experience, reputation and ability of the professionals who performed
              virtually all of the services in the case. Diamond McCarthy’s attorneys,
              over many years, have appeared throughout the United States providing
              legal representation to trustees, debtors, secured creditors, unsecured
              creditors, and committees. Further, partners of Diamond McCarthy have
              for many years actively participated in leadership positions in local, state
              and national bar associations, and have written for local and national
              publications and spoken at local, state and national institutes for
              continuing legal education in the creditors’ rights and bankruptcy areas.
              As demonstrated by Exhibit B, Diamond McCarthy’s attorneys are
              experienced in all aspects of bankruptcy matters, possess a high level of
              expertise, and have an excellent reputation in the business and legal
              communities. Furthermore, Diamond McCarthy has particular experience
              in the areas of complex insolvency, workout and corporate reorganization.



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              (x)     Nature and Length of Professional Relationship with Client. Diamond
                      McCarthy has represented Mr. Tow as chapter 7 trustee in several other
                      bankruptcy cases spanning a period of over ten years.

              (xi)    The undesirability of the case. The Debtor’s chapter 7 case is not
                      undesirable but, as already indicated, required a significant commitment of
                      time from many Diamond McCarthy attorneys.

              (xii)   Awards in similar cases. The compensation requested in this case is
                      comparable to, if not less than, the compensation allowed in other cases of
                      the size and complexity of this case.

                                    VI.    CONCLUSION

       WHEREFORE, Diamond McCarthy respectfully requests (a) interim allowance of

compensation for professional and paraprofessional services rendered as counsel to the Trustee

during the Application Period in the amount of $64,573.24; and (b) interim allowance of the

amount of actual and necessary out-of-pocket expenses incurred in the course of providing

services as counsel to the Trustee during the Application Period in the amount of $3,012.24.

Dated: March 1, 2018

                                                    Respectfully submitted,

                                                    DIAMOND McCARTHY LLP

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                                                    GENERAL COUNSEL FOR RODNEY D.
                                                    TOW, CHAPTER 7 TRUSTEE




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                                 CERTIFICATE OF SERVICE

        I certify that on March 1, 2019, a true and correct copy of the foregoing document was
served by (i) the Electronic Case Filing System for the United States Bankruptcy Court for the
Southern District of Texas to all parties registered to receive such service; and (ii) transmitted to
the parties listed on the attached Service List as indicated within one business day of filing by
U.S. Mail First class postage prepaid. A courtesy copy was also hand-delivered to the U.S.
Trustee and the Court’s Case Manager.

                                                              /s/ Charles M. Rubio
                                                              Charles M. Rubio




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   Margaret Vonder Hoya               Margaret Vonder Hoya Trust                   HRB Global
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   Dallas, TX 75219-2338                Dallas, TX 75219-2338                 Dallas, TX 75219-2338



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  MVH Grandchildren's Trust        NBP 2012 Trust; Chris Vonder Hoya,   MLPM 2012 Trust, Chris Vonder Hoya
  Chris Vonder Hoya, Trustee                     Trust                    4311 Oak Lawn Ave. Suite 360
4311 Oak Lawn Ave., Suite 360        4311 Oak Lawn Ave, Suite 360            Dallas, TX 75219-2338
    Dallas, TX 75219-2338               Dallas, TX 75219-2338
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ECP 2012 Trust, Chris Vonder Hoya   BCVH 2012 Trust, Chris Vonder Hoya   MLBP Testamentary Trust; JP Bryan
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